           Case 2:22-cv-00096-cr Document 19 Filed 07/05/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                               DISTRICT OF VERMONT

                                                   )                                   CLERK
JOHN DOE,                                          )
                                                   )
                       Plaintiff,                  )
                                                   )    Civil Action No.: 22-CV-00096-CR
                V.                                 )
                                                   )
LLOYD AUSTIN, et al                                )
                                                   )
                       Defendants.                 )
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   PLAINTIFF'S UNOPPOSED MOTION TO SEAL PERSONALLY IDENTIFYING
  INFORMATION IN EXHIBITS SUBMITTED IN SUPPORT OF HIS MOTION FOR
                   PRELIMINARY INJUNCTIVE RELIEF


       Upon review of Plaintiffs Unopposed Motion to Seal Personally Identifying Information
In Exhibits Submitted In Support Of His Motion For Preliminary Injunctive Relief, Plaintiffs
Motion is GRANTED.

        The references to John Doe's personally identifying information including names,
addresses, and contact information contained within Exhibit 2 (Declaration of John Doe, plus
exhibits thereto); Exhibit 3 (Declaration of Attorney Sophia Hall, Esq., plus exhibits thereto);
Exhibit 4 (to the Declaration of Doctor Anne Neilan, M.D., M.P .H., plus exhibits thereto); and
Exhibit 7 (Declaration of Trevor Hoppe, M.P.H3 .Ph.D., plus exhibits ili,ereto) will rem1;1in,
redacted. '1u.._ p-,~llL s-.~ MYo..L_'<'.La~s }t, ~ ~,c.....,,J.... 4l'i '~ c;~..,.._1 ~ ,._.. /vAJ,.
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SO ORDERED

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